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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE


FEDEQ DV004 LLC and                           )
FEDEQ DV005 LLC,                              )
                                              )
       Plaintiffs,                            )      Civil Docket No. 2:19-cv-00382-JHR
                                              )
v.                                            )
                                              )
CITY OF PORTLAND and                          )
JON JENNINGS,                                 )
                                              )
       Defendants                             )


                                   JOINT STATUS REPORT

       Pursuant to this Court’s order of January 22, 2021 (see Memorandum Decision and

Order, ECF No. 104 at 14), the parties submit this Status Report in relation to discovery disputes.

       At the outset, the parties report that there are no current discovery disputes pending for

this Court’s disposition under Local Rule 26(b). Both parties have agreed that neither party is

waiving any position relating to discovery requests or objections which may be presented to this

Court in the future under Local Rule 26(b). And both parties have agreed that neither party is

waiving any position relating to Plaintiffs’ document requests to the City, or the City’s

objections to those requests; and if any disputes remain or arise they may be presented to this

Court in the future under Local Rule 26(b), governed by the rules of procedure and standards of

the scope of discovery in that event.

       The parties have conferred and shall continue to confer in good faith to resolve the issues

previously presented by Plaintiffs in the Motion to Compel that was the subject of the Court’s

ruling in ECF No. 104. To this end, the City has agreed to provide a certification from its
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specifically retained third-party IT consultant to address Plaintiffs’ present questions relating to

the scope and completeness of the City’s document production. The City has produced

documents regarding insurance coverage/insurance agreements, and confirmed the terms thereof

have remained materially similar throughout all periods relevant to Plaintiffs Complaint, to the

present satisfaction of the Plaintiffs (without waiver of any disputes by either party arising in the

future after good faith conference under Local Rule 26(b)). The parties have agreed to address

by good faith conferring under Fed. R. Civ. P. 26(b)(2)(B)-(C) and Local Rule 26(b), Plaintiffs’

requests for additional information in categories other than email correspondence (including, but

not necessarily limited to, text messages on cell phone devices). To the extent specific

categories of documents remain in issue and the parties require further guidance or rulings from

the Court on the scope or limits of discovery, the issues will be presented to the Court under the

protocol of Local Rule 26(b). The parties are also committed to collaboratively addressing any

impending pretrial deadlines if and as necessitated by the time required to fully resolve the issues

related to Plaintiffs’ Motion to Compel.


       Dated at Portland, Maine this 12th day of March, 2021.



/s/ Patrick Venne, Esq.                                /s/ Russell B. Pierce, Jr.
Patrick Venne, Esq.                                    Russell B. Pierce, Jr., Esq.
Attorney for Plaintiffs                                Attorney for Defendants

Patrick Venne, Esq.                                    Norman, Hanson & DeTroy, LLC
42 Barnfield Lane                                      Two Canal Plaza, P.O. Box 4600
Gorham, ME 04038                                       Portland, ME 04112-4600
(305) 669-4165                                         (207) 774-7000
pvenne@federatedcompanies.com                          rpierce@nhdlaw.com




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                                   CERTIFICATE OF SERVICE


        I hereby certify that on March 12, 2021, I electronically filed the parties’ Joint Status

Report with the Clerk of Court using the CM/ECF system which will send notification of such

filing to all counsel of record.

                                               /s/ Russell B. Pierce, Jr.
                                               Russell B. Pierce, Jr., Esq.
                                               Attorney for Defendants

                                               Norman, Hanson & DeTroy, LLC
                                               Two Canal Plaza, P.O. Box 4600
                                               Portland, ME 04112-4600
                                               (207) 774-7000
                                               rpierce@nhdlaw.com




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